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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In Re: Chapter 11

W. R. Grace & Co., et al.’, Case No. 01-01139 (JKF)
Jointly Administered

Debtors.
Reply Deadline: October 31, 2005 @ 4:00 pm
Hearing Date: November 14, 2005 @ 12:00 pm

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Re: Docket No. 9315

Claim No.: 11134

Causeway Office Building #2

543 North Causeway Boulevard, New Orleans,
LA 70471

RESPONSE TO DEBTORS’ FIFTEENTH OMNIBUS OBJECTION
(SUBSTANTIVE) TO ASBESTOS PROPERTY DAMAGE CLAIMS

Claimant Causeway Office Building #2, LA (Claim No. 11134), respectfully submits

this response to the Debtors’ Fifteenth Omnibus Objection to Property Damage Claims.

1 The Debtors consist of the following 62 entities: W. R Grace & Co. (f/k/a Grace Specialty Chemicals,
Inc.), W. R. Grace & Co.-Comn., A-I Bit & Too! Co., Inc., Alewife Boston Ltd., Alewife Land Corporation,
Amicon, Ins., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgracc, Inc., Coalgracc
IL, Ins., Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and
Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited
Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp,
Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B I1 Inc., Grace Chemical
Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy Corporation,
Grace Environmental, Inc., Grace Europe. Inc., Grace H-G Inc., Grace H-G II Inc,, Grace Hotel Services
Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon
Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R.
Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation,
Hanover Square Corporation, Homco International, Inc., Kootenai Development Company, L B Realty,
Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management,
Inc.), Monolith Enterprises, Incorporated, Monroe Street, Ins., MICA Holdings Corp. (f/k/a Nestor-BNA
Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a
British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management,
Inc., E&C Liquidating Corp., Emerson & Curving, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water
Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing),
Hayden-Gulch West Coal Company, H-G Coal Company.
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Introduction

1. The above-named claimant respectfully submits this response to the Debtors’
Fifteenth Omnibus Obj ection, The Claimant has previously submitted a court-approved
proof of claim and proof that a Grace-manufactured asbestos-containing product is located in
its building. Grace served the claimant with a notice of insufficient documentation in March
of 2005 and the claimant provided supplemental documentation which is summarized in
Exhibit 1. The Debtors’ document notification was specifically limited to those items
checked in Exhibit 2.

2. Despite the Debtors’ position, applicable case taw places a presumption that a

properly filed claim is valid. Lundell v. Anchor Construction Specialists, Inc., 223 F.3d 1035,

1039 (9"" Cir.2000). The burden is on the Debtor to come forward with specific evidence and
authority to refute the claim.
Background

3. This claim seeks recovery for asbestos property damage. An asbestos
property damage claim seeks to recover the costs associated with management and removal
of asbestos-containing surfacing materials that were sold by W.R. Grace & Co. and installed
in the claimant’s building. Grace’s asbestos-containing surfacing materials are hazardous,
not because they contain asbestos, but because they release billions of asbestos fibers into the
building over time and when they are disturbed. These claims are based on the traditional

theories of negligence, strict products liability, warranty and nuisance.
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4, These are not a personal injury claims.' The claimant does not allege that
anyone in its building has gotten or will get an asbestos-related disease. To the contrary,
since discovering the presence of asbestos in its building, the claimant has taken precautions
to prevent such an event from ever happening. Both the Federal NESHAP regulation” and
state regulations, as well as sound public health policy, require that Grace's asbestos-
containing surface treatments be separately and carefully removed, at the latest, when

disturbed during renovation or when the building is demolished.”

Introduction — Grace’s Culpability
5. W.R. Grace & Co. was in the business of manufacturing and selling asbestos-
containing products from 1938 to 1978. 55 F.R. 4144-01 (February 13, 1990). During that

time, Grace or its predecessors manufactured and sold at least 22 different asbestos

' As noted by the Honorable G. Ross Anderson in the very first Monokote case ever tried to a verdict against
. Grace:

Greenville was not attempting to recover, as Grace appears to assume, for future
asbestos injury to its employees, but rather to recover the cost of cleansing its
building from cancer-causing fibers. If no person ever gets sick from asbestos in the
[building], that would not change the fact that Greenville's building is contaminated

Greenville City Hall v. W. R. Grace & Co., 640 F.Supp. 559 (D.S.C.1986), aff'd, 827 F.2d 975 (4th Cir. 1987).

740 CER. 61.167, et seq.

? The Court in City of Greenville farther noted:

Grace's position was basically to manage the asbestos now, remove it in problem
areas and leave the rest alone until it deteriorated or until renovation or demolition.
[Plaintiff] decided to meet the problem head-on and remove the asbestos under a
planned program. As a consequence, the parties were really only at odds over how
much to spend and when to spend it, not if money had to be spent to control the
asbestos hazard. The jury's conclusion that [plaintiff] had suffered property damage
from asbestos contamination is amply supported.

Id at 567. (Emphasis supplied).
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containing surfacing-treatments and at least 34 building products to which asbestos was
added as an ingredient. Id. Additionally, Grace mined, processed and sold many other
products which contained vermiculite mined and milled at its Libby, Montana facility,
including Zonolite Attic Insulation and Zonolite Masonry Fill, that were contaminated with
asbestos fibers from the Libby mine.

6. Grace was founded and operated for a number of years as a shipping
company. In the early 1950's, Peter Grace, who had succeeded his father as head of the
company, determined that the future of shipping was limited, and decided that Grace should
become a chemical company. In connection with that decision, Grace purchased the Dewey
& Almy Chemical Company (f/n/a the Multibestos Company) of Cambridge, Massachusetts.

7. Additionally, in December 1962, Grace purchased the Zonolite Company
(f/n/a Vermiculite & Asbestos Company), which became part of its Dewey and Almy
Division. Zonolite mined vermiculite in Libby, Montana. The vermiculite in this mine
contained asbestos. Zonolite shipped the vermiculite to numerous plants which it operated
throughout the country. The vermiculite was then used in combination with other
ingredients, including commercial asbestos, in the production of construction products.

The Multibestos Knowledge

8. In 1930, Dewey & Almy purchased all but a few of the shares of Multibestos
Company, located in Walpole, Massachusetts. Multibestos used asbestos fiber in the
manufacture of brake linings and associated products. In 1934, Dewey & Almy took over
the entire business of Multibestos.

9. By 1935, a number of workers at the Multibestos Plant had developed

asbestos disease. Ata special meeting of Dewey & Almy held on August 23, 1935, the
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President of Dewey & Almy recommended that Multibestos be sold to Raybestos Manhattan,

Inc. The minutes of the meeting reflect that:

10,

[The President] emphasized that the Executive Committee felt that,
though there had been some improvement in the position of
Multibestos Operations, the intangible burdens incident to them were
greater than were reflected in statistics and that they were taking
altogether too large a portion of the time of the Company's executives.

In January 1936, the Multibestos Plant was closed. The lead editorial in the

Walpole, Massachusetts newspaper commented, "[p]erhaps you are just as well satisfied that

is gone, because it was a health menace."

11.

Thereafter, two of the earliest studies of asbestos disease were conducted

among the employees and former employees of the Multibestos Plant. Of particular interest

was the medical article published by John Hawes in 1937 based upon his study of the

Multibestos Plant. Dr. Hawes concluded his article as follows: -

12.

Asbestosis is a relatively new disease, concerning which we know
remarkably little except that it does not seem to correspond to the laws
governing silicosis in general. There is not the slightest doubt,
however, in my mind at least, that asbestos dust is the most dangerous
of all dusts. Asbestosis is able to produce total and permanent
disability in a remarkably short length of time, even after only 2 or 3
years' exposure and occasionally less, as compared with the much
slower and more gradual action of pure silicon and the great majority
of silicates. Asbestos is an aluminum or magnesium silicate or a
combination of these or others and, in its chemical analysis, agrees
closely with that of talc, cement and certain other silicates. The fact
remains, however, that asbestos is extremely dangerous and fatal,
while talc, cement and other silicates are comparatively innocuous
except under prolonged, intense exposure along with a very greatly
lowered individual resistance.

Subsequent to the closing of the plant, Bradley Dewey, the president of

Dewey & Almy corresponded with Manfrid Bowdich, of the Massachusetts State Board of

Health, and in turn, Dr. Leroy Gardner and Dr. Anthony Lanza concerning asbestos disease
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at the Multibestos Plant. At that same time, Dr. Gardner was director of Saranac
Laboratories in Saranac Lake, New York. He had recently been employed by a number of
asbestos companies, including Raybestos Manhattan and United States Gypsum Company, to
conduct animal experiments with asbestos dust (these studies revealed that asbestos not only
produced asbestosis, but that a large number of the animals tested died of lung cancer --
results which the sponsors successfully suppressed until discovery in the asbestos lawsuits
years later). This correspondence revealed Mr. Dewey's actual awareness of the problems at
Multibestos, the findings of Dr. Hawes, and reasons for his getting out of the asbestos
business. In one poignant statement in his letter of February 23, 1938, Mr. Dewey stated:

I personally cannot study the disease record of the Walpole plant and

not believe that asbestosis is a very serious and sometimes fatal

disease. | think it is one that should not be belittled and it is one which

should be objectively studied until reliable facts are known and out in

the open. All this is simply so that you may know my own personal

feeling. Far be it from me to get embroiled in somebody else’s

troubles.

13. Subsequently, Multibestos changed its name to Dewey & Almy, and remained
a part of Dewey & Almy until purchased by Grace in 1952. All the stock of Multibestos then
known as Dewey & Almy was transferred to Grace in connection with that purchase.
Bradley Dewey was added to the Grace Board of Directors prior to this purchase. He
remained a member of Grace's Board (or a Director Emeritus) until his death in 1974.
The Zonolite/Libby Knowledge
14. ‘In approximately 1950, Zonolite introduced one of the earliest spray-applied

acoustical plasters known as "Zonolite Acoustical Plastic", The product contained

vermiculite, commercial asbestos, and small amounts of other ingredients. In the ensuing

years, Zonolite and later Grace introduced various other spray-applied products which were a
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direct outgrowth of Zonolite Acoustical Plastic and, in most circumstances, very similar in
constituency. Included in this group was the spray fireproofing product Monokote, first
introduced in 1959. Prior to the introduction of Monokote, Zonolite marketed a fireproofing
which was generally troweled on columns and beams. This product was known as Zonolite

’ plaster fireproofing. It did not contain asbestos.

15. During the period Zonolite marketed its spray applied products, it knew of the
dangers of asbestos dust. As early as December 21, 1955, John H. Huxley of the Chicago
Corporate Headquarters wrote J.B. Meyers at Libby that:

I have previously written to you about the danger of exposing our
employees to asbestos dust while they are manufacturing acoustical
plastic. In many of our plants, the plastic business has increased over
100% in the last year and is still growing. When the business reaches
these proportions, it is not unusual to have one crew assigned to the
work continuously. This increases the danger.

(emphasis supplied).

16. In 1956, the Montana Board of Health investigated the Libby mining
operation, and provided a report to the company which stated that, inter alia, "the asbestos
dust in the air is of considerable toxicity". In the late 1950's the company took a series of x-
rays of its employees with results reflecting that of the one hundred thirty (130) persons
examined, forty-eight (48) had abnormal x-rays, eight had pleural thickenings, twenty-six
(26) had interstitial fibrosis, and eight had pneumoconiosis.

17. On February 14, 1964, Grace received the report of examination of employee
Eitel Ludwig, indicating that he had pulmonary fibrosis "due to inhalation of dust particles,

almost certainly from the asbestos content of the dust." In May-June of that year, respiratory

function tests were made on 140 men at Libby which revealed that:
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[T]heir respiratory function was below standard, but a serious hazard
from pneumoconiosis (lung condition resulting from inhalation of dust
particles) exists to employees at Libby.

18. The following year, William Locke filed a worker's compensation claim for
pneumoconiosis as a result of seven years of intermittent exposure to asbestos while blending
acoustical material. Thereafter, injury claims proliferated at the Libby mine.

19. Later in 1964, the Montana State Board of Health returned and conducted
another inspection of the plant, and filed another report. This report discussed the findings of
Dr. Selikoff, reported in the Journal of the American Medical Association, linking asbestosis
and asbestos cancer, including mesothelioma, to building trade insulation workers with -
“relatively light intermittent exposure to asbestos". The report also noted that:

The recent demonstration, by South African and British investigators
of pleural and peritoneal neoplasms among individuals who had
chance environmental exposure to asbestos many years before raises
the very important question of possible wide-spread carcinogenic air
pollution.

20. Aninternal Grace memorandum of December 18, 1964 reports that "it is an
established company policy that all employees making mixed products" must wear
respirators. Another internal memorandum of January 11, 1965 reiterated the importance of
providing approved respiratory protection, but pointed out that "respirators are not to be
considered a substitute for engineering improvement of dust control." Grace's safety
administrator, Peter Kostic emphasized this point in a memorandum of March 29, 1966, in

which he stated that "respirators are fine for short periods of time, but to get a man to wear

one eight hours a day is next to impossible."
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21. On January 2, 1965, R.A. Bleich, General Manager of the Libby operation,
wrote the head of the Zonolite division of Grace, J.A. Kelley. He enclosed copies of all the
reports from the Montana State Board of Health on the dust problem and commented that:

In going over these reports, I can only say that it presents a very sorry
record. There is some improvement indicated during 1964 but still
totally inadequate. -

22. Inresponse, Mr. Kelley wrote George W. Blackwood, President of the Dewey
and Almy Chemical Division of Grace, on January 13, 1965, and advised him that "the
situation at Libby is not as good as it should be as far as the State of Montana is concerned"
and "that the problem of physical condition of employees may be a long term problem.”

23. On October 28, 1965, the Montana State Board of Health forwarded Mr. |
Bleich a preliminary report of the Pennsylvania Department of Health which discussed lung
cancer and mesothelioma among Pennsylvania asbestos workers. The following year, L.E.
Park advised Grace that:

While the average asbestos worker is well protected, the man on the
street is not. The 3 by | micron asbestos fibers in his lungs come from

a variety of sources, that is i.e.:

Asbestos ducts in insulation in home central
heating plants.

Asbestos line ducts and centrally air

conditioned buildings.
kok

Asbestos ceiling and floor tiles.
* K &
Construction and Demolition.
24. On March 31, 1966, the Montana State Board of Health forwarded Mr. Bleich

a copy of another article dealing with asbestos and cancer. The article reflected grants

awarded to Dr. Selikoff at Mt. Sinai Hospital for a three-year study. The article further noted
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that Dr. Selikoff's research team had been studying a union group of insulation workers and
had found "six to seven times the 'expected' rate of cancer of the [ung and three times the
normal rate of cancer of the stomach, colon and rectum", and in addition to an "extraordinary
high incidence" of mesothelioma. The following year, in April 1967, the American Journal
of Medicine carried an editorial by Dr. Selikoff, et al. entitled "Asbestosis and Neoplasa",
which was circulated within Grace.

25. On January 9, 1968, Mr. Sterrett forwarded O.F. Stewart a copy of Mr.
Kostic's letter of January 5, 1968, with a summary of his meeting with E. Fenner of Johns-
Manville on December 26, 1967:

[T]he maximum allowable concentration for asbestos dust is
controversial. The Industrial Hygiene Foundation is currently
circulating a communication which IJ have seen, proposing a 0.0/mppcf
for asbestos dust. They apparently feel that any exposure to asbestos
dust is hazardous. Many doctors are of the opinion that there is a
definite relationship between asbestos dust and certain types of
cancer."...Fenner & Sheckler emphasize that threshold limits (MAC)
should be used as guides in the contro! of health hazards and should

not be regarded as fine lines between safe and dangerous
concentrations.

1. * OR
It has been JM's experience that personal protective devices such as
masks and respirators are only 50% effective. This type of equipment,
therefore, should be used only in emergencies and for exposures of
short duration.
The Monokote Problem
26. | Contemporaneous with the discussions of the asbestos in the dust at the
Libby mine, Grace and the other members of the Vermiculite Institute, (an organization

created to promote the sale of vermiculite products such as Monokote, discussed the “urgent”

need to create Monokote 4, a new “asbestos-free” formulation. In October, 1965, in a

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preliminary study to create this product, Grace tested Monokote without asbestos, This
design was abandoned until 1968 when publicity in the Northeast caused Grace to again
consider reformulation to remove asbestos from Monokote.

27. In £968, a major article on asbestos by Paul Brodeur entitled "The Magic
Mineral" was published in the New Yorker magazine. The article particularly attacked the
dangers of the spraying of asbestos fireproofing. The article immediately came to the
attention of Grace.

28. Additionally, on November 4, 1968, R.S. Arnold wrote Grace about the same
questions being asked of Grace in Australia:

In recent months, the powerful building workers union have been

protesting loudly about the hazards of handling fireproofing and
insulating products containing asbestos.

* ok

Apparently the Building Unions learnt that asbestos is cancer
producing from medical research performed in the United Kingdom.

Neuchatel ask whether Zonolite have ever tested a Monokote
formulation without asbestos content. We recently gave them the
formula for Monokote MK-3 since they hoped for a more economical
formulation to compete with the asbestos companies plus looking for a
lower asbestos content.

Would you comment on the health hazard question please and also
advise of the status of a non-asbestos containing Monokote.

29. On November 22, 1968, the California Department of Public Health
forwarded its industrial hygiene study of exposures to asbestos dust at the Beverly Hills High
School construction site to California Zonolite Company (a Grace licensee soon to be

purchased by Grace). The report noted, inter alia:

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Atmospheric concentrations of asbestos-containing dust were found to
be low on a count basis. However, on a weight basis, exposures were
found to exceed our suggested threshold limit value for asbestos dust.
Therefore, because of the added carcinogenic properties of asbestos
properties, recommendations for additional personal protection are
offered in this report.”

30. On January 23, 1969, Grace received the February issue of "Walls &

Ceilings", containing an article regarding glass fiber re-enforcement for plaster and concrete.

One Grace employee circulated the article with a notation that:

This might be the answer to a 'maiden's prayer’ for getting a substitute
for asbestos in Monokote.

31. — The following month, on February 13, 1969, Grace manager R.W. Sterrett
discussed various possibilities of substitutes for asbestos in Monokote.’

32. On March 11, 1969, Grace's safety administrator, Peter Kostic, wrote R.W.
Sterrett concerning another article that had appeared in Safety Engineering. Mr. Kostic
advised Mr. Sterrett that:

I think it would be well at this time, with the advice of counsel, to
consider applying a warning or precautionary label or statement on all
containers of products containing Vermiculite. This may aid our
defense in cases of product liability claims.

33. On June 20, 1969, Jim Cintani advised Thomas Egan, head of Grace's

fireproofing division, with a copy to other top Grace officials, that he had attended a meeting

at New York University on June 15, 1969, on "Asbestos - An Unanticipated Environmental

> Grace could have found a substitute much earlier if it had desired. For example, it had in its possession since
1943 a book entitled Substitutes which listed at least 22 possible substitutes for asbestos. Most notably
included within this list were fiberglass and wood products, materials that Grace ultimately substituted for the
asbestos thirty years later.

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Hazard." He attached a copy of the program and a reprint of the article that appeared in the
New Yorker Magazine. He also noted that:

Dr. Selikoff presented a very detailed and factual report on the studies
of the health hazards of asbestos. He has made a career in the study of
effects of asbestos and speaks eloquently about the subject.

Dr. Lee of U.S. Public Health Service agreed with Dr. Selikoff's
findings. He felt that the harmful effects of asbestos fibers should be
neutralized, or if this was not possibie, that asbestos should be taken
off the market.

Dr. Pundsack, Vice President of Research of Development of Johns-
Manville, also acknowledged the harmful effects of asbestos, Dr.
Pundsack felt that John's-Manville had controlled the problem of
asbestos in their plants through proper ventilation and indoctrination of
their employees. However, the use of asbestos in construction posed
another problem, particularly in the field of spray fireproofing and
acoustical application. Dr. Pundsack was of the opinion this caused
the greatest amount of potential hazard because the asbestos fibers
were able to be airborne and thereby contaminate a large area.

* KOR

The meeting made a deep impression on me. I was surprised that the
universal agreement among parties at the meeting on the harmful
effects of asbestos. | thought Johns-Manville would try to refute Dr.
Selikoff's statements, but they did not do so.

It is my feeling that as these facts are disseminated around the country,
the use of asbestos sprayed fireproofing will be discontinued.

I feel we should place a top priority tag on our efforts to secure a
substitute for the asbestos in our Monokote fireproofing.

(emphasis supplied).
34. On July 24, 1969, Mr. Vining circulated a confidential report entitled
"Vermiculite Report for Mr. Grace". The report noted the need "to eliminate a serious health

hazard caused by the presence of vermiculite and asbestos dust in the mill and expanding

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plants" and further that "tremolite asbestos is a definite health hazard at both the Libby

operation and at the expanding plants using the ore.”

35.

36.

By October 1969, a confidential internal report indicated that:

Asbestos fiber is a health hazard during the application of Monokote.
Work done late in 1969 to eliminate asbestos from the product
indicates that a substitute has been found which does not deter from
the properties of the original Monokote.

On November 4, 1969, Mr. Egan heard an address by Dr. Selikoff at the

CPLIA Convention. On December 2, 1969, he forwarded his comments concerning this

address to top officials within Grace:

37.

His address was very factual about the extreme dangers of the use,
under current practices, of sprayed fiber fireproofing. After noting the
widespread concentration of fibers around major office structures, with
emphasis on the large amounts distributed blocks from the site, he
stressed the hazards to the general public of this pollution of the air.
Also, he noted the concern of possibie long term danger to building
occupants from prolonged minute dusting of fibers through the —

_ building's air distribution systems. His use of medical charts, job

photos, on site readings and expert commentary gave the maximum
impact.

The preceding day, Mr. Egan had written V.H. Dodson that:

Knowing the building pressure against the use of asbestos in sprayed
fireproofing, particularly in the New York, Philadelphia area, and with
concern spreading rapidly throughout the country, there are two prime
reasons we should get asbestos out of Monokote. They are:

We are going to get included in the
indictment since we have asbestos in

Monokote.

Monokote without asbestos would give a
tremendous sales increase at once,

Also, we have an ethical obligation to get it out.

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38. On December 16, 1969, Mr. Egan wrote a number of persons within Grace as
follows:
Recent internal pressures, mainly the alarm on asbestos, has directed
us to areas of improvement in Monokote. The investigation has been
underway for quite sometime with analysis of glass, mineral and paper
fibers in lieu of asbestos. Also, many formulations have used no fiber
at all, but making changes or additions to the Gypsum are being

analyzed,

This program has been accelerated recently, and the reports are
optimistic.

39. On March 12, 1970, an inter-office correspondence circulated an article from
the Seattle Times of March 1, 1970, reporting another speech by Dr. Selikoff in which he
again warned that

[E]ntire buildings sometimes are 'contaminated for life’ because

asbestos fibers are left loose after pipes and beams are sprayed with
the insulating material in the areas between floors and ceilings.

These areas of 'dead space’ often are used as return air ducts for
building's circulation system he said. 'When asbestos fibers are being
sucked from these areas into the circulation system of a building, I
think I would have to call this one of the most reprehensible habits we
have found,’ he said.

40, In April, 1970, Mr. Egan reported that Grace had two formulations for
asbestos-free Monokote that were being tested at Underwriters Laboratory. That same
month, the magazine "Walls & Ceilings" reported a speech by Dr. Selikoff in which he again
warned that entire buildings were being "contaminated for life” because of sprayed
fireproofing.

Al, On June 1, 1970, Mr. Egan summarized events to date as follows:

It is very important that each of you have a clear understanding of the

issues and the course of events concerning the 'asbestos' pollution.
* oe

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Dr. Selikoff started to speak out publicly to our knowledge in early
1969 around New York and, in fact, got the Fireproofing
Subcontractors and Sprayed Fiber Manufacturers Association to form
a committee to set standards to improve job conditions.

The general feeling was that he would go away if he was treated
gently. But this was not to be, as he stepped up his attack speaking

November 1969 to the CPLIA National Convention and other groups
across the country...

KK x

I have met with Dr.'s Selikoff and Rickles and I'm sure they intend to
put an end to pollution, short and long term with materials, asbestos or
other, which can in any way endanger the health of workers, office
employees, and the general public. This includes during construction,
after building, occupancy through air conditioned inhalation, or future
demolition of buildings that wili release asbestos or other materials
into the atmosphere.

42. On June 11, 1970, Mr. Egan wrote Dr. Selikoff and expressed appreciation
"for the excellent work to date in alerting us to the dangers of the present product and
working conditions.” .

43, On July 10, 1970, Sprayon Research Corporation, which had previously sold
an asbestos fireproofing, announced the successful testing of an asbestos-free material known
as "SprayDon" standard "J" which had received rating from UL Laboratories. Other
companies soon followed.

44. _—_ Additionally, on August 20, 1970, Mr. Egan commented on the Research and
Development Program for asbestos-free Monokote and commented that:

Barring some alarming medical fact to the contrary, the health hazard
of asbestos will require the ban on loose asbestos particles to the
atmosphere, and probably within one year.

45. A research and development program for asbestos-free Monokote dated

August 11, 1970, noted:

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Our current Monokote, identified as MK-3, was developed in 1959 and
has been successfully marketed since. In two areas of performance,
MK-3 is questionable.

Under the requirement that such a product be non-injurious to health,
we are attempting to determine code pollution levels and rate MK-3
field performance against these levels. We are also attempting to
reformulate the product to completely exclude asbestos...

In the area of requirement that MK-3 be fire resistant, our standard
MK-3 has borderline performance in its ability to adhere to a certain

configuration of steel deck during a fire test. We find that premature
bond failure is the rule rather than the exception in those full scale test
specimens which contain a large area of flat - plate.

46. The report further discussed MK-3 as follows:

"Complete asbestos elimination for health considerations.”

Since June 1969, we have attempted to eliminate asbestos by
substituting other materials. Within a few months, we had to define
the function of asbestos as primarily a yield increasing additive, also
useful in improving the homogeneity and pumpability of the
composition. We have discarded the following functions as being
insignificant:

Necessity that fiber be inorganic and
highly resistant to high temperatures;

Contributed to cohesive strength
during exposure to fire.

47. On May 14, 1971, Grace announced its new asbestos-free Monokote IV. The
bulletin stated:

Responding to a critical need, the Construction Products Division,
W.R. Grace & Co., has introduced into the New York market a
completely asbestos-free formulation of its cementitious fireproofing
material, Zonolite Monokote."

48. On November 16, 1971, Mr. Cintani wrote Mr, Feit that:
The New York State area and the New England area are almost

entirely changed over from MK-3 to MK-4....The market has
definitely switched to a non-asbestos product in the Northeast.

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49. On December 1 and 2, 1971, a meeting of Grace's Plaster and Fireproofing
Committee was held in Cambridge. The letter forwarding the minutes of meeting reports that
shortly after the meeting, MK-4 had obtained additional necessary ratings. Nevertheless, the
minutes noted that "MK-3 - continue to use where possible”,

50. On January 14, 1972, Grace's architectural representative advised a plasterer
in Niles, Illinois concerning the Archer Pulaski School that:

This is to inform you that Monokote 4 asbestos-free cementitious
spray-applied fireproofing has been accepted by the City of Chicago
for use within the city limits.

We have successfully shown the pollution control people and city
officials that use of Monokote 4 does not create a health hazard and
has been fire tested and rated by Underwriters Laboratory, Inc., in
accordance with Test Method ASTME-119.

A few jobs we are doing with Monokote 4 in the city at the present
time are the Standard Oil Building, Columbus Hospital, the Chicago
Mercantile Exchange, and the Audy Juvenile Home.

51. On February 4, 1972, L.S. Shu reported his attendance at the EPA public
hearings in New York City to AM. Rosenberg. He reported his general impressions on the
hearing as follows:

The most important part of the hearing, so far as asbestos is concerned,
was made by Johns-Manville. They did not mention spray
fireproofing materials at all. Their intention is obvious. They want to
save their major business which ts mining and milling of asbestos.

The quantity of asbestos used in spray fireproofing industry is
comparatively small (estimated 0.5% of asbestos used in U.S.).

Maybe they are willing to sacrifice this! In this respect, I came across
a trip report written by Jim Cintani on June 20, 1969, He attended a
meeting at NYU on asbestos. J am quoting a paragraph from his
report:

...Dr. Pundsack felt that Johns-Manville had controlled the problem of
asbestos in their plants through proper ventilation and doctrination of
their employees. However, the use of asbestos in construction posed
another problem, particularly in the field of spray fireproofing and

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52.

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acoustical application. Dr. Pundsack was of the opinion this caused
the greatest amount of potential hazard because the asbestos fibers
were able to be airborne and thereby contaminate a large area.

On February 24, 1972, P.E. Korenberg enclosed a table on the relationship

between MK-3 and MK-4. The table noted that:

that:

53.

34.

Formulation MK-3 contained some asbestos and can be used in
locations where asbestos is not banned. Formulation MK-4 is asbestos
free and can be used anywhere -- including those areas where asbestos
is banned.

On June 14, 1972, R.C. Erickson advised all Monokote plant superintendents

This memo leaves as a completely open question ‘when or if any
specific plant will convert to this [MK-4 formula] the trial batching
plant is purely for purpose of being prepared when we are forced to
close out MK-3.

On August 2, 1972, Thomas P. Feit, who had replaced Mr. Egan as fire

protection products manager, advised manufacturing facilities that the effective date of EPA

banning of asbestos-containing fireproofing was still in question, but that:

Vv):

55.

Anticipating the worst, we have used mid to late September as the cut-
off date. Obviously, if this is not the cut-off date or if we get an
additional ninety days, we will continue to make and sell MK-3 until
we no longer can. I do believe that the plant should keep an inventory
of such items as asbestos and MK-3 bags and anticipation that the cut-
off date will be sometime in September.

By October 1972, Grace had also introduced asbestos-free Monokote V (MK-

Application performance of MK-5 approximates that of MK-3, but it
appears to have the additional advantage of making possible greater
job site control which will reduce quality problems.

The material was introduced in October to those markets where

asbestos-containing materials had been banned. In these areas a
complete change over from the former non-asbestos MK-4 will take

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place between now and August 1973. Announcements will be made in
all other market areas with MK-5 to replace MK-3 and MK-4, for an
orderly transition in 1973 and 1974 at all plant locations.

56. Mr. Egan, who was then manager of the midwest region, noted that:

Zonolite's Monokote-5 is a definite improvement over existing
materials and places W.R. Grace & Co. well ahead of all other
manufacturers of fireproofing materials in the quality and assured
performance of a non-asbestos-containing plaster fireproofing
material.

57.  Aninternal letter of Mr. Feit of January 6, 1973, reported that:

The MK-5 announcement has been made in the Eastern and
Midwestern Regions only -- where asbestos-containing fireproofing
materials have already been banned. There is at this time no schedule
set for introducing MK-5 into any other area until we have completed
ali field testing and/or EPA action.

58. Even after the EPA banned the spray-application of asbestos-
containing fireproofing in the United States in July of 1973, Grace continued to sell
asbestos-containing Monokote in Canada. In an October 8, 1974 internal memo,
Grace executives weighed the pros and cons of continuing this practice:

It’s my understanding that Jim McKague intends to continue with MK-
3 [in Canada] and there are no overall limitations by the Canadian
government prohibiting its use, although certain local authorities have.
Where it is prohibited, MK-5 is being sold.

The case for MK-3 is the lower cost possible.

The case against it is:

Grace could get critical publicity from selling and asbestos-
containing material.

If there is legislation against MK-3 there can be a concern
generated on asbestos content of vermiculite. (If MK-5 had
totally replaced MK-3 prior to EPA’s action I don’t believe
we would ever have had any question generated in the
market about asbestos in vermiculite),

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Selling MK-3 in Canada could continue attention and
confusion on Monokote in the U. S. It will be necessary to
list MK-3 at UL and face the kinds of issues as in the
attached correspondence."

Manufacturing MK-3 creates asbestos problems in our
plants. If this is attacked by an agency, there is a risk that
the investigation would continue to a concern on
vermiculite.

Continuing MK-3 will require testing and evaluations at
UL plus all the other overhead expenses related to the
management of this type of product. UL work alone could
be a major cost item....

It is my recommendation that we cancel MK-3 immediately and
eliminate the concerns listed above.

59, Despite this recommendation, Grace continued selling asbestos-
containing Monokote in Canada through at least 1975.
Grace Conceals the Problem in Monokote

60. Surprisingly, asbestos was not added to Monokote to increase its fire
"resistance. Indeed, the vermiculite plaster (to which no asbestos was added) which
Monokote replaced had much obtained higher fire ratings than were ever obtained by
asbestos-containing Monokote. As Grace's own internal documents reveal, the primary
purpose of asbestos in Monokote was to increase the yield (thereby increasing the profit
margin). When asbestos was finally removed from Monokote it was replaced with shredded
newspaper,

6}. When Grace began marketing its asbestos-containing Monokote throughout

the country in the early 1960's, it never disclosed the fact that Monokote contained asbestos.

* The attached correspondence was from Underwriters’ Laboratory proposing to delete all fire ratings for
products containing asbestos in light of the EPA ban upon visible emissions from the spraying of materials
containing more than 1% asbestos.

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The evidence from Grace’s own files and corporate testimony confirms that Grace's own
salesmen did not know that asbestos was in Monokote. Even when Grace's competitors
began placing warnings on bags of asbestos-containing fireproofing as early as 1962, Grace
did not disclose the asbestos content of Monokote to the salesmen who sold, the architects
who specified it or the workmen who mixed it and sprayed it.

62. In fact, as more information became public about hazard's of asbestos, Grace
made a conscious decision not to inform architects that Monokote contained asbestos. When
one of its competitors announced its new asbestos-free fireproofing product had achieved
approval from Underwriter's Laboratory in 1970, Mr. Thomas Egan, head of Grace's
fireproofing division, sent a memo advising Grace's salesmen not to spread this information,
but to "Jet the architect or other find out for himself...”

The Safe Buildings Alliance and Grace’s Attempt to Re-write History

- 63. The ban on the sale of asbestos-containing surfacing materials did not end

Grace’s efforts to conceal the hazards associated with asbestos in its products. Within one
month of the first asbestos property damage verdict in the country, the three largest former
manufacturers of asbestos containing fireproofing (Grace, United States Gypsum Co. and
National Gypsum Co.) met in secret in Washington, D.C. and formed the Safe Buildings
Alliance ("SBA"), The SBA has spent millions of dollars (contributed by its member
companies) to reduce the members’ liability by encouraging building owners to forego the
removal of asbestos based upon often incorrect and misleading scientific and technical
information prepared with the assistance of counsel for its member companies. In re School |
Litigation, 842 F.2d 671 (3d Cir.1987) (holding that the SBA was the alter-ego of its member

companies).

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64. | SBA's internal minutes confirm the Third Circuit's finding. These reflect,
inter alia, that as early as June 1984, SBA intended (1) to lobby and influence Congress,
State Legislatures, and Federal and State Regulatory Agencies; (2) to influence public
thinking and building owner's decisions through a massive public relations campaign using
national and local media, as well as the scientific, technical and trade press and (3) to

coordinate and, as necessary, directly interact with these [scientific, medical

and building sciences] communities in order to maintain current knowledge,
and to the extent practicable, influence the emerging trends and

communication ... The information developed in this effort may have utility,
and therefore cost savings, in providing assistance in the underlying
litigation."

65. SBA, which eventually consisted of only Grace and U. 8. Gypsum, spent
millions of dollars in these efforts. SBA has lobbied the White House, Congressmen and
federal agencies. When the Environmentai Protection Agency promulgated the 1990
amendments to the NESHAP regulation, the SBA filed suit against EPA, and spent vast sums
challenging the regulation. Rather than waste its own limited time and resources on this
issue, EPA agreed to settle the SBA suit and issue the EPA NESHAP Clarification of Intent,
58 Fed.Reg. 51,784-01 (Oct. 5, 1993).° Although the clarification did not change the actual
regulation, it did make sweeping policy statements in accordance with SBA propaganda.
Subsequently, the SBA filed suit against OSHA, challenging its regulations on asbestos.°

66. Despite the fact that it had no interest in this subject outside of litigation (its

member companies long ago stopped selling asbestos products), SBA and its members

> The NESHAP Clarification is cited extensively in Grace's pre-trial memorandum, thus demonstrating that
SBA's efforts to influence scientific and federal regulatory agencies have served to aid its members cost-
recovery litigation.

° 59 Fed Reg. 40,964-41,162 (August 10, 1994).

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occupied three seats on the EPA Committee which developed the regulations advising school
districts what they should do about asbestos-containing materials. SBA's officers, as well as
its member's litigation experts sit on peer review panels for EPA guidance documents and
testimonial publications. Despite having no scientific qualifications, SBA's former president
and head lobbyist, John Welch, was a voting member of the ASTM asbestos sub-committee
of the indoor air quality committee that decided what standards and test procedures would be
endorsed by ASTM as scientifically reliable. In the 1980’s and 1990’s, the SBA blitzed the
country with a massive media campaign and generated proposed state and local statutes and
regulations to minimize litigation expenses of its members.

67. SBA's lobbying efforts also included contact directly with many individual
state representatives. SBA directly contacted national and local newspapers in an attempt to
influence public opinion. Furthermore, newspaper pieces that were written by the SBA and
highlighted the misleading pamphlet "What You Should Know About Asbestos in Buildings"
_ were published in newspapers throughout the country.’ SBA also put their message on the
radio waves in a program called "A Question of Safety" which it aired across the country.

68. As an example of the lengths to which the SBA went to manufacture science,
' in 1988, the SBA sponsored "the Harvard Symposium," a closed conference in which
defense litigation experts were invited to present and publish their work. The information
presented at the "symposium" was quickly disseminated by the SBA, which publicized the
proceedings in newspapers and radio spots all over the country as a "landmark report." SBA

failed to teil that it had contacted Harvard and suggested the symposium and located the co-

” See, In re: Asbestos Schools Litigation, 115 F.R.D. 22 (E.D.Pa.1986) for discussion of the content and
misleading nature of this publication.

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sponsors, Among those who made presentations at this closed forum were many of Grace's
litigation experts.

69. ‘It is against this backdrop that the Debtors have baldly alleged that claimants’
claims should be barred by the statute of limitations, assumption of the risk and that
claimants cannot prove that Grace’s asbestos containing surfacing products are hazardous or
unreasonably dangerous. Coupled with the Debtors’ track record of losing substantial
verdicts and settlements in the tort system, it is clear that the Debtors’ objections are patently
without merit.?

Burden of Proof

70. A proof of claim is deemed allowed unless a party in interest objects under 11
U.S.C, § 502(a) and constitutes "prima facie evidence of the validity and amount of the
claim" pursuant to Bankruptcy Rule 3001(f). See also, Fed. R. Bankr.P. 3007. The filing of
an objection to a proof of claim "creates a dispute which is a contested matter" within the
meaning of Bankruptcy Rule 9014 and must be resolved after notice and opportunity for

hearing upon a motion for relief. See Adv. Comm. Notes to Fed. R. Bankr.P. 9014.

* City of Greenville v. W. R. Grace & Co., 640 F.Supp. 559 (D.S.C. 1986), aff'd 827 F.2d 975 (4th
Cir. 1987); New Hampshire-Vermont Health Service Corp. v. U. S. Mineral Products Co., 10 F.3d
805 (1" Cir. 1993) (table decision — text at 1993 WL 472829); Kansas City v. W. R. Grace & Co., 778
S.W.2d 264 (Mo.App.1989); Kansas City v. Keene Corp., 855 S.W.2d (Mo.1993); Clayton Center
Associates v. W.R. Grace & Co., 861 8.W.2d 686 (Mo.App. 1993); Northridge Co. v. W. R. Grace &
Co., 205 Wis.2d 267, 556 N.W.2d 345 (Wis.App. 1996); San Franscisco Unified School District v. W.
R: Grace & Co., 37 Cal.App.4" 1318, 44 Cal.Rptr.2d 305 (Cal.App. 1 Dist. 1995); MDU Resources
Group v. W. R. Grace & Co., 14 F.3d 1274 (8" Cir.1994); Farm Credit Bank of Louisville v. U. S.
Mineral Product Co., 864 F.Supp. 643 (W.D.Ky.1994); May v. AC & S, Inc. 812 F.Supp. 934
(E.D.Mo.1993); Tioga Public School Dist. No. 15 v. U. S. Gypsum, 984 F.2d 915 (8" Cir.1993);
Hebron Public School Dist. No. 13 v. U.S. Gypsum, 953 F.2d 398 (8" Cir.1992); Blue Cross & Blue
Shield of SC v. W. R, Grace & Co., 781 F.Supp. 420 (D.S.C.1991); Security Homestead Ass’n v. W.
R. Grace & Co., 743 F.Supp. 456 (E.D.La.1990); Drayton Public School Dist. No. 19 v. W. R. Grace
& Co., 728 F.Supp. 1410 (D.N.D.1989); Spartanburg County School Dist. Seven v. National Gypsum
Co., 805 F.2d 1148 (4" Cir. 1986); City of Manchester v. National Gypsum Co., 637 F.Supp. 646
‘(D.R.1.1986); Town of Hookset School Dist. V. W. R. Grace & Co., 617 F.Supp. 126 (D.N.H.1984)

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71. Upon objection, the proof of claim provides "some evidence as to its validity
and amount" and is "strong enough to carry over a mere formal objection without more.”

Lundell vy. Anchor Construction Specialists, Inc., 223 F.3d 1035, 1039 (9" Cir.2000); citing,

Wright v. Holm (In re Holm ), 931 F.2d 620, 623 (9th Cir.1991); see also, Ashford v.

Consolidated Pioneer Mort., 178 B.R. 222, 226 (9th Cir. BAP 1995), aff'd, 91 F.3d 151, 1996

WL 393533 (9th Cir.1996). To defeat the claim, the objector must come forward with
sufficient evidence and "show facts tending to defeat the claim by probative force equal to
that of the allegations of the proofs of claim themselves." In re Holm, 931 F.2d at 623.
Objection C- 2 Allegedly Insufficient Documentation

72. Despite the Debtors’ objection, documentation for this claim has been
provided. Apart from providing a claim specific summary of documentation for this claim,
copies of all documents have now been provided to Rust Consulting, Grace’s claims agent.
The documents provided in conjunction with this claim are listed in Exhibit 1.

73. | More importantly, neither the bar date order nor the Proof of Claim form
required the production of documents with the form. The Proof of Claim form clearly
provided claimants with the option of providing a summary of documents and consent to
making them available for inspection upon further request. After Debtors requested copies of
the documents listed on Exhibit 1, they were copied and sent to the Claims Agent in
accordance with the instructions on the Proof of Claim form. Accordingly, the Debtors’
objections are without merit.

74. Finally, the Debtors’ vitriolic allegations regarding the history its objections to
this and other claims filed by Speights & Runyan are disingenuous. In fact, contrary to the

Debtors’ direct representations to this Court in February of 2005, S&R filed supporting

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documentation in March of 2003 with over 1,000 claims and further indicated it would work
with the Debtors to determine additional documentation was desired by the Debtors and
provide it. Instead of talking with the S&R claimants, the Debtors chose to serve notice of
blanket gateway objections to these claims. S&R diligently worked to obtain additional
documentation, and, with 60 days of receiving the notice, provided, in accordance with the
specific instructions on the Proof of Claim, summarized the documentation for this and other
claims, ultimately identifying almost 30,000 responsive documents. These documents were
available for inspection beginning in May of 2005. However, it was not until July, 2005,
after the Debtors’ had initiated its smear campaign against Speights & Runyan, that Debtors’
counsel requested that these documents be copied. After this request, S&R copied 62 boxes
of documents in support of this and over a thousand other claims and sent them directly to
Grace’s claims agent as indicated in the Proof of Claim form.

75. Moreover, the Debtors’ objection to claims based upon the contention that the
proofs of claim filed in respect of such claims were facially incomplete or lacked certain
documentation is without any basis. The standards for proofs of claim and objections was

stated by the Third Circuit Court of Appeals in In re Allegheny International, Inc., 954 F.2d

167 (3d Cir, 1992):

The burden of proof for claims brought in the bankruptcy court under 1]
U.S.C.A. § 502(a) rests on different parties at different times. Initially, the
claimant must allege facts sufficient to support the claim, If the averments in
his filed claim meet this standard of sufficiency, it is "prima facie" valid.
[citations omitted.] In other words, a claim that alleges facts sufficient to
support a legal liability to the claimant satisfies the claimant's initial
obligation to go forward. The burden of going forward then shifts to the
objector to produce evidence sufficient to negate the prima facie validity of
the filed claim. It is often said that the objector must produce evidence equal
in force to the prima facie case. [citations omitted.] In practice, the objector
must produce evidence which, if believed, would refute at least one of the
allegations that is essential to the claim's legal sufficiency. If the objector

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produces sufficient evidence to negate one or more of the sworn facts in the
proof of claim, the burden reverts to the claimant to prove the validity of the
claim by a preponderance of the evidence. (citations omitted).

954 F.2d at 173-74.

76. Accordingly, the pertinent inquiry is whether the proof of claim and
documentation filed by a claimant sets forth sufficient evidence of a claim against the
Debtors, not whether the proof of claim provides sufficient information for the Debtors to
formulate their defenses and objections to the PD Claim. If the proof of claim meets this
prima facie standard, the burden shifts to the Debtors to produce evidence that the claim is
invalid, regardless of whether it would be useful for the proof of claim to provide additional
information for the Debtors to assess their defenses as such information is obtainable by
discovery.

77. The fact that claimants may have omitted certain of the information requested
in the proof of claim form is not, standing alone, sufficient grounds for the disallowance of
the claim which otherwise makes a prima facie showing of the Debtors’ liability. Indeed, a
PD Claim should only be disallowed for one or more of the nine grounds for disallowance
enumerated in section 502(b) of the Bankruptcy Code. In re Taylor, 289 B.R. 379, 384
(Bankr. N.D. Ind. 2003). Respectfully, §502(b) affords no discretion in this regard and the
disallowance of claims must be based upon the reasons stated in the statute. Id. None of the
grounds for disallowance set forth in section 502(b) involves the failure to provide
information beyond that which establishes a prima facie claim against the Debtors' estates.

In re Guidry, 321 B.R. 712 €N.D. Il}. 2005).

Objection D-2 Statute of Limitations — Constructive Notice

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78. Despite the rejection of this argument in courts across the county, Grace
would suggest to this Court that virtually every property damage claimant in this bankruptcy
is barred because they should have had notice of the “potential dangers” of asbestos,” Yet
Grace has utterly failed to come forward with any evidence or applicable state law to support

this position despite its obligation to do so. Van Buskirk v. Carey Canadian Mines, Ltd., 760

F.2d 481 (3d Cir.1985); California Sansome v. U. S. Gypsum Co., 55 F.3d 1402 (9"

Cir.1995); Clayton Center Asso. v. W. R. Grace & Co., 861 S.W.2d 686 (Mo.App.1993)

(statue of limitations is an affirmative defense on which the burden of proof is on the
defendant).. More importantly, Grace’s objection completely ignores literally scores of
reported decisions from across the country that reject this very argument.

79. Notably, in Kansas City v. W. R. Grace & Co., 778 S.W.2d 264, .

(Mo.App.1989), the Missouri Court of Appeals reversed the grant of summary judgment on
the statute of limitations and specifically rejected the arguments now made by the Debtors.
In Kansas City, the appellate court correctly recognized that in order for an asbestos property
damage action to accrue, there must be a “release of toxic asbestos fibers into the
environment” along with “the ability to ascertain a substantial and unreasonable risk of harm
form the release of the toxic asbestos fibers.” 778 S.W.3d at 268. In so finding, the

Appellate Court held that the type of evidence Grace now claims is sufficient to establish

° Grace’s reliance upon Prudential Insurance Co. v. U. S. Gypsum, 359 F.3d 226 (3d Cir,2004) is misplaced.
The only cause of action at issue in Prudential was the federal RICO statute, upon which Prudential claimed it
was entitled to a broad range of past and future asbestos related damages. In holding that Prudential’s claims
were barred by the RICO statute of limitations, the Third Circuit panel was careful to distinguish Prudential’s
broad RICO claims from traditional tort claims for asbestos property damage. Id at 238. Moreover, despite
Debtors suggestion that the Prudential court based its decision solely upon constructive notice of the “potential
dangers” of asbestos-in-buildings, the court actually went to great lengths to describe the “actual knowledge”
held by Prudential prior to the limitations period at issue in conjunction with the fact that Prudential “is a very
sophisticated company that operates a large casualty insurance business and an extensive estate investment
business. . .. [which] provided Prudential with more opportunities than an average plaintiff to access ACM-
related information.” Id at 234 —- 236. Grace has provided to no such evidence here.

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“constructive notice” of a property damage claim was not relevant to the statute of
limitations.

80. Specifically, defendants in Kansas City made the identical claim made by the
Debtors in this case: that because the city had constructive notice of NESHAPS regulations
(first published in 1973) which banned the spray application of asbestos-containing
fireproofing and later required that asbestos material be specially removed at great expense
when disturbed by renovation or demolition, that the City’s claim was barred by the statute of
limitations.'° In rejecting this argument, the appellate court aptly held that, “simply because
Kansas City had notice of NESHAPS, its causes of action for negligence and strict liability
were not caused to accrue until asbestos fibers were released into the environment of the
airport buildings and Kansas City was capable of ascertaining that there was a substantial and
unreasonable risk of harm from the release of the toxic asbestos fibers.” Id. at 269. Courts

across the country are in accord. See, MDU Resources v. W. R. Grace & Co., 14 F.3d 1274,

1279 (38" Cir.1994); THS Northstar v. W. R. Grace & Co., 66 F.3d 173 (8 Cir.1995);

BellSouth Communications v. W. R. Grace & Co., 77 F.3d 603 (2d Cir.1996); City of

Wichita v. United States Mineral Product Co.. 72 F.3d 1491 (10" Cir.1996); San Francisco

Unified School District v. W. R. Grace & Co., 37 Cal.App.4" 1318, 44 Cal.Rptr.2d 305

(Cal.App.4" 1995); Heider v. W. R. Grace & Co., 1992 WL 189254 (N.D.II1) (citing,

Prosser & Keeton on the Law of Torts, §30 at 165 6" Ed. 1984)); Clayton Center Asso. v.

W.R. Grace & Co., 861 S.W.2d 686 (Mo.App. 1993).

81. | Moreover, the Debtors’ constructive notice argument is patently inconsistent

with its claim that its asbestos-containing surfacing materials are not hazardous and do not

'° The NESHAP regulations are the same regulations, amendments and related guidance documents cited by the
Debtors in footnote 9, of their Fifteenth Omnibus Objection as evidence of “constructive knowledge.”

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cause property damage. See, Debtors’ Fifteenth Omnibus Objection, J 118 (alleging
claimants allegedly barred because there is no “proof of hazard.”); 4175 (citing British
Columbia court as holding that Monokote does not “contaminate buildings” and is therefore
not hazardous). As noted by the Eighth Circuit Court of Appeals in reversing a statute of
limitations verdict,
Grace argued at trial not only that the statute of limitations had run, but also
that the plaintiff had suffered no injury from the asbestos Monokote. The
arguments are inconsistent: if MDU has suffered no injury from the
Monokote, then it has no cause of action--until an injury is suffered, the

statute of limitations cannot begin to run.

MDU Resources Group v. W. R. Grace & Co., 14 F.3d 1274 (8" Cir.1994),

Objection D-4 Statute of Limitations — Actual Notice
82. The statute of limitations is an affirmative defense upon which the Debtors
bear the burden of proof. It is the Debtors who bear the burden of establishing that the

wrongdoing and the injury occurred outside the limitations period. Van Buskirk v. Carey

Canadian Mines, Ltd., 760 F.2d 481 (3d Cir.1985); California Sansome v. U. §. Gypsum

Co., 55 F.3d 1402 cg Cir.1995); Clayton Center Asso. v. W.R. Grace & Co., 861 S.W.2d

686 (Mo.App. 1993).

83. Since the beginning of asbestos property damage litigation, Courts across the
country have clearly and unambiguously held that an asbestos property damage cause of
action does not accrue until a compensable injury occurs. Stated another way, tort actions for

asbestos property damage can be maintained only where plaintiffs explicitly allege and
subsequent evidence demonstrates contamination of the building or other property as a result

of fibers released from asbestos products. In other words, only asbestos contamination

constitutes a physical injury compensable under tort law. Adams-Arapahoe School

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District No. 28-J v. GAF Corp., 959 F.2d 868 (10" Cir.1992) (emphasis supplied); City of

Greenville v. W.R. Grace & Co., 827 F.2d 975, 976-78 (4th Cir.1987) (the release of toxic

fibers from an asbestos-containing fireproofing product rendered the manufacturer liable for
damages to the property owner under South Carolina tort law); | More importantly,

knowledge of a “potential” future hazard or injury is not enough. Adams-Arapahoe; MDU

Resources v. W. R. Grace & Co,, 14 F.3d 1274, 1279 (8" Cir. 1994) (“the District Court erred

when it instructed that the issue for purposes of the statute of limitations was when MDU

learned of the presence of asbestos in the building”); THS Northstar v. W. R. Grace & Co.,

66 F.3d 173 (3 Cir.1995) (“the distinction between the mere presence of -asbestos-
containing materials in a building and actual release and contamination is critical” because

“no cause of action exists until there has been a substantial release”); San Francisco Unified

School District v. W. R. Grace & Co., 37 Cal.App.4" 1318, 44 Cal.Rptr.2d 305 (Cal.App.4"

1995) (“the mere presence of asbestos constitutes only a threat of future harm... .
[c]ontamination by friable asbestos is the physical injury and the actual, appreciable harm
that must exist before a property owner’s strict liability or tort cause of action against an

asbestos manufacturer accrues and the limitations period commences.”); Heider v. W.R.

Grace & Co., 1992 WL 189254 (N.D.IIl.} (knowledge of the presence of asbestos is not
enough to trigger the statute of limitations because the “threat of future harm, not yet
realized, is not enough’).

84. This basic tort principle makes clear that damages may not be awarded for
injuries not yet suffered. General knowledge that a product in the building contains asbestos

and poses a risk of future injury is simply not enough. MDU Resources v. W. R. Grace, 14

F.3d 1274 (8 Cir.1994) (rejecting Grace’s argument that knowledge of the mere presence of

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asbestos triggers the statute of limitations, and holding that the proper question was when
MDU could have learned, with the exercise of reasonable diligence, that its building had

been contaminated by asbestos); California Sansome v. U. S. Gypsum Co., 55 F.3d 1402 (9

Cir.1995) (contamination must occur in the first instance in order to trigger the running of the

statute of limitations); BellSouth Communications v. W. R. Grace & Co., 77 F.3d 603 (2d

Cir.1996) (claim does not accrue until contamination of the building by asbestos and

consequent health risk occurs); City of Wichita v. United States Mineral Product Co,. 72 F.3d

1491 (10" Cir.1996 (holding actual physical injury by “contamination” is an essential
element of any negligence claim and liability may not be premised upon the mere risk of

future harm not yet suffered); 3250 Wilshire Blvd. Bldg. v. W.R. Grace & Co., 1989 WL

260222 at *4-8 (C.D.Cal. Jul. 24, 1989) (recognizing that allegations of actual contamination
constitute valid tort damages claims, whereas tort claims for injury by virtue of mere

presence of asbestos-containing products or by virtue of a potential risk of harm are invalid);

Catasauqua Area School District v. Eagle-Picher Indus.,, 1988 WL 102689 (E.D.Pa. Sept. 28,

1988) (removal and replacement costs of asbestos cement constitute economic loss not
recoverable under tort absent demonstration that cement contaminated other property or that

it created a significant health risk to building occupants); Hebron Pub. Sch. Dist. No. 13 v.

U.S. Gypsum, 690 F.Supp. 866, 870 (D. N.D.1988) (negligence claim survived motion to

dismiss where plaintiffs alleged asbestos products released harmful fibers into the building);

City of Manchester v. National Gypsum Co., 637 F.Supp. 646, 651- 52 (D. R.1.1986) (court
denied motion to dismiss finding that allegations of contamination constituted allegations of
- physical harm sufficient to support a claim for negligence under New Hampshire law);

Franklin County Sch. Bd. v. Lake Asbestos of Quebec, Ltd., 1986 WL 69060 at *5-6

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(N.D.Ala. Feb. 13, 1986) (school board's negligence claim dismissed for failing to allege

actual, present harm, i.e. contamination); Town of Hooksett Sch. Dist. v. W.R. Grace & Co.,

617 F.Supp. 126, 130-3! (D.N.H.1984) (motion to dismiss denied because plaintiff alleged
contamination and contamination constitutes a physical injury cognizable under tort);

Kershaw County Bd. of Educ. v. U.S. Gypsum Co., 302 8.C. 390, 393, 396 S.E.2d 369, 371

(1990} (Gudgment against manufacturer of asbestos-containing ceiling materials on
negligence claim upheld where plaintiff alleged and proved damage to other property); Banc

One Bldg. Management Corp. v. W.R. Grace & Co., 157 Wis.2d 814, 461 N.W.2d 448

(1990) (unpublished disposition) (dismissal of negligence action affirmed where plaintiff

failed to allege actual physical harm); Board of Educ. of City of Chicago v. A, C &S, Inc.,

131 T.2d 428, 443, 137 Ill.Dec. 635, 642-43, 546 N.E.2d 580, 587-88 (1989)
("dangerousness which creates a risk of harm is insufficient standing alone to award damages
in... negligence; however, allegations of asbestos release are sufficient to defeat a motion to

dismiss"); School Dist. of City of Independence v. U.S. Gypsum Co., 750 S.W.2d 442, 456

(Mo.App. 1988) (jury verdict upheld where school district provided evidence of
contamination caused by defendant's asbestos-containing acoustical ceiling plaster).

85. Grace has failed to provide any evidence that would establish the claimant
was injured by the substantial release of asbestos fibers from its products. Indeed, Grace has
denied that products release asbestos fibers into buildings once installed. Even if they did,
however, Grace’s substantial efforts to conceal the hazards of asbestos or that its products
even contained asbestos are sufficient to toll any statute of limitations period from running.

Objection D-6 Laches

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86.  Laches is an equitable defense to cases that sound in equity. Aithough a few
jurisdictions have applied the doctrine of laches to actions at law, most jurisdictions presume
that a case brought within the statutory limitations period are timely. “The general rule is
that laches will not bar.the assertion of a claim when the statute of limitations pertaining to

that claim has not run.” Hughes v. Neely, 332 S.W.2d 1, 6 (Mo.1960); see also, Caldwell v.

Barnes, 975 S.W.2d 535 (Tex.1998); Norton v. Chioda, 58 N.E.2d 828 (Mass.1945);

Kaminski v. Cowan, 282 N.W. 902 (Mich.1938); Wright v. Brooks, 130 P. 968 (Mont.1913);

Wilson v. Harper, 25 W.Va. 179 (1884); Hunter v. Hunter, 758 P.2d 1019 (Wash. App.Div. |

1988); A. Sangivanni & Sons v. F. M. Floryan & Co., 262 A.2d 159 (Conn,1969); Jonklaas

v. Silverman, 370 A.2d 1277 (R.1.1977); Marsh v. Lott, 105 P. 968 (Cal.1909); Earle Imp.

Co, v. Chatfield, 99 S.W. 84 (Ark.1907). Absent extraordinary circumstances which Grace

has failed to establish, laches is unavailable independent of the statutory limitations period.

Grace Objection E — Proof of Hazard

87. Grace has objected to virtually every claim in this bankruptcy on the basis that
the claimant did not provide any “proof of hazard” from the asbestos-containing building
materials at issue. Remarkably, Grace makes this claim after having prepared and requested
a proof of claim form that failed to ask claimants for any evidence that the Grace asbestos-

containing products were hazardous."

MN Perhaps more remarkably, Grace claims that most of these same claimants who allegedly failed to prove
Grace’s products are hazardous, are also barred by the statute of limitations. As noted by the Eighth Circuit
Court of Appeals in reversing a statute of limitations verdict, this argument is untenable.

Grace argued at trial not only that the statute of limitations had run, but also that the plaintiff had
suffered no injury from the asbestos Monokote. The arguments are inconsistent: if MDU has
suffered no injury from the Monokote, then it has no cause of action--until an injury is suffered, the
statute of limitations cannot begin to run.

MDU Resources Group v. W. R. Grace & Co., 14 F.3d 1274 (8" Cir.1994).

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88. As recognized by the extensive body of case-law involving asbestos property
damage cases, Grace’s asbestos-containing products do not become hazardous until they
release asbestos fibers and contaminate other parts of the building. Therefore, claimants are
not injured until their building is contaminated by asbestos fibers released from Grace’s

products. City of Greenville v. W.R. Grace & Co., 827 F.2d 975, 976-78 (4th Cir.1987) (the

release of toxic fibers from an asbestos-containing fireproofing product rendered the
manufacturer liable for damages).

89. Despite the clear line of cases, nowhere in the proof of claim form does Grace
ask claimants about building contamination. Grace is clearly prohibited from objecting to
claims because claimants failed to supply information not requested by Grace.

90. Additionally, Grace ignores the body of scientific literature which establish
that Grace’s asbestos containing products release fibers into the building and create
unreasonable health risks under routine and foreseeable conditions.'* These scientific studies
reveal the elevated asbestos fiber levels during building renovation, routine maintenance, and
other normal building activities. In a string of Monokote cases ignored by Grace, courts have

without exception allowed these experiments into evidence. See The Cheshire Medical

Center v. W. R. Grace & Co., 88-516-M (D.N.H. July 26, 1993); Seventh Day Adventists v.

W.R. Grace & Co.-Conn., Case No. 74365 (Md. Cir. Ct., Montgomery Co. Jan. 1993); In Re:

State of West_Virginia Public Buildings Asbestos Litigation, C.A. No. 86-C-458 (W.Va. Cir.

12 See, "Exposure to Airborne Asbestos Associated with Simulated Cable Installation above a Suspended
Ceiling,” Am.Ind.Hyg.Asso.J., Vol. 52(11), p. 479-84, 1991; Keyes, Chesson, Hays, Hatfield, Ewing, Longo,
Millette, "Re-entrainment of Asbestos From Dust in a Building With Acoustical Plaster," Environmental
Choices Technical Supplement, July/August 1992; Ewing, Chesson, Dawson, Ewing, Hatfield, Hays, Keyes,
Longo, Millette, Spain, "Asbestos Exposure During and Following Cable Installation in the Vicinity of
Fireproofing," Environmental Choices Technical Supplement, March/April 1993,

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Ct., Mongolia Co. Sept. 17, 1992), Tr. at 0078. MDU Resources Group, Inc., d/b/a Montana-

Dakota Utilities Co. v. W.R. Grace & Co., C/A No. Al-90-122 (D.N.D.); Clayton Center

Associates v, W.R. Grace & Co., No. 581479 (Mo. Cir.Ct., St. Louis Co., Feb. 13, 1992), Tr.

at 105-12; Blue Cross and Blue Shield of South Carolina v. W.R. Grace, No. 6:89-1281-17
(D.S.C. May 15, 1991).

91. All of these studies involved the same type of products manufactured by
Grace’? and most involved Grace's asbestos fireproofing. These experiments all involved
activities that normally occur in buildings such as cable installations and other cleaning and
maintenance activities. These experiments show that routine maintenance and custodial
activities that occur in buildings contaminated by asbestos can result in significant exposures,
well in excess of OSHA and EPA permissible levels. The experiments are thus relevant and
admissible to show the levels of asbestos contamination and the procedures necessary to deal
with the health hazards posed by everyday, foreseeable activities in the buildings.

92. Additionally, Grace’s attempt to exclude dust sampling reports while relying
solely upon non-abatement air sampling results to establish hazard completely misses the

point. As the district court stated in City of Greenville v. W. R. Grace,

The evidence further showed that the asbestos material in the City Hall was
falling off the beams in some areas and was laying in pieces on top of ceiling
tiles. Greenville's experts found invisible asbestos fibers on every building
surface tested in amounts of up to millions of fibers per square foot of surface
area. Asbestos had contaminated ceiling tiles and carpets. These findings .
not only confirmed the earlier warnings of building contamination, but were
consistent with Grace's internal knowledge that its asbestos-containing
Monokote had poor bonding characteristics which prompted Grace to try to
protect Monokote from scrutiny by outside testing laboratories.

"3 School District of Independence v. United States Gypsum Co., 750 S.W.2d 442, 453 (Mo.App. 1988) upheld
the admission of similar studies "to aid the jury's understanding of exposure to asbestos" even though the
studies did not involve exposure to the same product at issue,

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* KOK

Grace's position at trial was basically that the asbestos fiber level had not yet
gotten high enough to cause immediate concern for the health of the City Hall
occupants, except perhaps maintenance men and contractors, whom Grace
suggested could wear respirators. The problems with this argument are
several. Grace's defense was built largely on a day of air testing in the
building a year before trial which was criticized by Greenville's experts as
merely a "snap shot" of the conditions that day. The jury could reasonably
have found such evidence unconvincing as a measure of the present and future
contamination of the City Hall and rejected it as a reliable indicator of the
need for removal. Not only has EPA cautioned against heavy reliance on air
testing, but Grace's experts, who took and analyzed the air samples in the City
Hall, had recommended removal for other clients without air testing.

The air testing defense did not address Greenville's need under any scenario to
control the asbestos problem in its building. Grace's position was basically to
manage the asbestos now, remove it in problem areas and leave the rest alone
until it deteriorated or until renovation or demolition. Greenville decided to
meet the problem head-on and remove the asbestos under a planned program.
As a consequence, the parties were really only at odds over how much to
spend and when to spend it, not if money had to be spent to control the
asbestos hazard. The jury's conclusion that Greenville had suffered property
damage from asbestos contamination is amply supported.
640 F.Supp. at 563, 568 (D.S.C.1986) aff'd, 827 F.2d 975 (4% Cir.1987). While it is
understandable why Grace would want the court to be guided solely by non-abatement air
sampling, this data, by design, ignores the some of the most significant and dangerous
exposures in buildings. Perhaps, that is why there is no authority to support Grace’s position
that only non-abatement air sampling data are relevant to show that Grace’s asbestos-
containing building products are hazardous.
F-2 — the Alleged Fabricated 2003 Date
93. Grace alleges that the claim form completed by Speights & Runyan states that
the claimant first learned that its building contained asbestos in 2003 and that this date must

be fabricated. This assertion is patently false. What the claim form completed by Speights &

Runyan actually requested is when claimants learned of the “presence of asbestos in the

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property of the Grace product for which you are making this claim.” (See Proof of
Claim, Question 18) (emphasis supplied). While documents related to this claimant’s
knowledge about asbestos generally are attached as Exhibit 1, there is no indication that this
claimant knew that Grace was the manufacturer of asbestos-containing products in its
building prior to filing this claim. Indeed, the great majority of claimants did not learn that
Grace was the manufacturer of an asbestos-containing product in its building until presented
with a Grace sales record or until constituent analysis sampling was conducted in conjunction
with filing a claim in this bankruptcy. This is hardly surprising given the efforts to which
Grace went to conceal the presence of asbestos in Monokote described more fully in the

Introduction.

Conclusion
94. For the reasons stated herein, the claimant submits that Grace has failed to
meet its burden of proving the invalidity of this claim and that Grace’s objections are without

merit. The Debtors’ Fifteenth Omnibus Objection should therefore be stricken.

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VoO~
October M4, 2005

Respectfully submitted,

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